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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 vs.                                                     CASE NO: 2:16-cr-81-FtM-38CM

 BROWN LASTER, JR.,
 JERRY BROWDY and
 WESLEY PETIPHAR


                                  OPINION AND ORDER1

        This matter comes before the Court on the Government’s Motion in Limine to

 Preclude Defendants from Introducing Evidence Related to the Prosecution of Steven

 Burch and Herbert Battle (Doc. 273) filed on July 3, 2017. In particular, the Government

 seeks to exclude a recording involving Steven Burch and Herbert Battle. (Doc. 273). No

 Defendant has responded, and the time to do so has expired. (Doc. 238 at ¶ 2). This

 matter is ripe for review.

        As way of background, Defendants Brown Laster, Jr., Jerry Browdy, and Wesley

 Petiphar were indicted for conspiring to possess with intent to distribute and to distribute

 methamphetamine. (Doc. 3). This matter went to trial in June 2017. Before that trial, the

 Government filed a similar motion seeking identical relief. (Doc. 175). The Court heard

 argument from counsel at the final pretrial conference and reserved ruling.          Before


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 opening statements, the Court informed the parties that it would listen to the evidence

 presented at trial to determine whether the recording was admissible, and the parties

 should not reference the recording. The issue presented itself at trial, and the Court did

 not allow reference to the recording. Ultimately, the Court denied the issue as moot after

 Defendants failed to raise the issue before they rested. (Doc. 214). The case ended in

 a mistrial after the jury could not reach a verdict.

        Now, the Government again seeks to exclude the recording involving Steven Burch

 and Herbert Battle as inadmissible evidence. It argues that the recording is hearsay that

 does not fall within the coconspirator exception because it is evidence of a separate

 conspiracy. (Doc. 238). At this time, the Court agrees. Based on the record, counsels’

 previous arguments, and the evidence presented at the first trial, the Court finds the

 recording to be inadmissible hearsay. See Fed. R. Evid. 801. However, like the first trial,

 this ruling does not foreclose Defendants from raising the issue at sidebar during trial

 should it appear based upon the evidence that it is admissible.

        Accordingly, it is now

        ORDERED:

        Government’s Motion in Limine to Preclude Defendants from Introducing Evidence

 related to the Prosecution of Steven Burch and Herbert Battle (Doc. 273) is GRANTED.

        DONE AND ORDERED at Fort Myers, Florida, this July 11, 2017.




 Copies: Counsel of Record




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